
862 N.E.2d 999 (2007)
308 Ill.Dec. 796
PEOPLE State of Illinois, Petitioner,
v.
Ted W. GAYFIELD, Respondent.
No. 103722.
Supreme Court of Illinois.
March 28, 2007.
In the exercise of this Court's supervisory authority, the Appellate Court, First District, is directed to vacate its judgment in People v. Gayfield, case No. 1-05-0902 (11/01/06). The appellate court is directed to reconsider its judgment in light of People v. Jones, 223 Ill.2d 569, 308 Ill.Dec. 402, 861 N.E.2d 967 (2006), to determine if a different result is warranted.
